Case 2:20-cv-02007-SHM-atc Document 25 Filed 04/22/20 Page 1 of 2                    PageID 3432




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                     WESTERN DIVISION

 AMERICAN CLOTHING EXPRESS,                            )
 INC. D/B/A ALLURE BRIDALS AND                         )
 JUSTIN ALEXANDER, INC,                                )
                                                       )
                    Plaintiffs,
                                                       )
 v.
                                                       )      Case No. 2:20-cv-02007-SHM-dkv
                                                       )
 CLOUDFLARE, INC. and DOES 1-200,                      )      Judge Mays
 INCLUSIVE,                                            )      Ch. Magistrate Judge Vescovo
              Defendants.                              )
 ____________________________________________          )
                                                       )
 CLOUDFLARE, INC.,                                     )
                                                       )
                    Counterclaimant,                   )
                                                       )
 v.
                                                       )
 AMERICAN CLOTHING EXPRESS,                            )
 INC. D/B/A ALLURE BRIDALS AND                         )
 JUSTIN ALEXANDER, INC,                                )
                                                       )
                    Counterdefendants.                 )



                      NOTICE OF APPEARANCE OF ANDREW P. BRIDGES


          Andrew P. Bridges enters this Notice of Appearance as lead counsel for

 Defendant/Counterclaimant Cloudflare, Inc. Mr. Bridges’ application for admission to the Bar

 of this Court was granted as of March 23, 2020, according to an email from Ms. Jean Miller-Lee

 of the Clerk’s Office. Cloudflare, Inc. has filed its Counterclaims and Answer in the case.

 .                                            Respectfully submitted,

                                              s/Andrew P. Bridges (by RSH with perm. via email)
                                              Andrew P. Bridges
                                              Fenwick & West LLP
                                              801 California Street



 4829-2881-0682.2
Case 2:20-cv-02007-SHM-atc Document 25 Filed 04/22/20 Page 2 of 2                   PageID 3433




                                             Silicon Valley Center
                                             Mountain View, California 94041
                                             Telephone: (415) 875-2389
                                             Email: abridges@fenwick.com
                                             (Application for admission granted; certificate
                                             pending)

                                             s/Robb S. Harvey
                                             Robb S. Harvey (Tenn. BPR No. 11519)
                                             WALLER LANSDEN DORTCH & DAVIS LLP
                                             511 Union Street, Suite 2700
                                             Nashville, Tennessee 37219
                                             Telephone: (615) 244-6380
                                             Email: robb.harvey@wallerlaw.com

                                             Attorneys for Defendant/Counterclaimant
                                             Cloudflare, Inc.


                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on April 22, 2020, a true and exact copy of the
 foregoing has been served via the Electronic Case Filing system of the United States District
 Court for the Western District of Tennessee, which is expected to send email notification of such
 filing to all counsel who have made an appearance, including the following:

 Russell Bogart
 Stuart Kagen
 Kagen & Caspersen, PLLC
 757 Third Avenue, 20th Floor
 New York, New York 10017
 rbogart@kagencaspersen.com; skagen@kagencaspersen.com

 Grady Garrison
 Nicole Berkowitz
 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
 165 Madison Avenue, Suite 2000
 Memphis, Tennessee 38103
 ggarrison@bakerdonelson.com; nberkowitz@bakerdonelson.com

                                                   s/Robb S. Harvey
                                                   Counsel for Defendant/Counterclaimant
                                                   Cloudflare, Inc.




 4829-2881-0682.2
